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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------------------------X   Case No. 18-CV-11348
EFIM MOSIYASH,

                                   Plaintiff,                                COMPLAINT

                 - against -

HIGHLIGHT MOTOR FREIGHT USA, INC., and
KIRK KALINITCHENKO, Individually,

                                     Defendants.
-------------------------------------------------------------------------X

        Plaintiff, EFIM MOSIYASH, by and through his attorneys, Law Office of Yuriy Moshes,

P.C., hereby complains of Defendants, upon information and belief, as follows:


                                         NATURE OF THE CASE

1.      Plaintiff brings this action against Defendants pursuant to the Fair Labor Standards Act,

        29 U.S.C. § 201, et seq. (“FLSA”) and the New Jersey Wage Payment Law, N.J.S.A.

        34:11-56a1 et. seq. (“NJWPL”) for failure to pay wages due and owed for hours worked

        in excess of forty (40) hours per workweek.

2.      Defendants required Plaintiff to work more than forty (40) hours a week, but wholly

        failed to pay him overtime wages for all the hours he worked over forty (40) in a week.

        As a result of Defendants’ violation of the NJWPL and FLSA, Plaintiff is entitled to (a)

        the full amount of underpayment, (b) attorneys’ fees and costs, (c) prejudgment interest,

        and (d) an additional amount as liquidated damages equal to one hundred percent of the

        total amount of the wages found to be due.


                                      JURISDICTION AND VENUE

3.      Jurisdiction of this Court is proper under §216(b) of the FLSA (29 U.S.C. § 216 (b)), §§
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      1331 and 1343.

4.    The Court has supplemental jurisdiction over Plaintiff’s claims brought under state law

      pursuant to 28 U.S.C. §1367.

5.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) as it is a judicial district

      in which a substantial part of the events or omissions giving rise to the claims have

      occurred.


                                            PARTIES

6.    That at all times relevant hereto, Plaintiff EFIM MOSIYASH (“MOSIYASH”) was and is

      a resident of the State of New Jersey and the County of Morris.

7.    That at all times relevant hereto, Defendant HIGHLIGHT MOTOR FREIGHT USA, INC.

      (“HIGHLIGHT MOTOR”) was and is a domestic profit corporation, duly existing pursuant

      to, and by virtue of, the laws of the State of New Jersey, with its principal place of business

      located at 14 Eastmans Road, Parsippany, NJ 07054.

8.    That at all times relevant hereto, Defendant HIGHLIGHT MOTOR owned, maintained, and

      operated a trucking company, known as “Highlight Motor Group Inc.,” located at 14

      Eastmans Road, Parsippany, NJ 07054.

9.    That at all times relevant hereto, Defendant HIGHLIGHT MOTOR does business as the

      “Highlight Motor Group Inc.” and “Highlight Motor Group USA NJ.”

10.   That at all times relevant hereto, Plaintiff MOSIYASH was an employee of Defendant

      HIGHLIGHT MOTOR.

11.   That    at   all   times   relevant    hereto,   Defendant     KIRK      KALINITCHENKO

      (“KALINITCHENKO”) was an employee of Defendant HIGHLIGHT MOTOR, holding

      the positions of “President and CEO.”

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12.   That at all times relevant hereto, Defendant KALINITCHENKO was Plaintiff

      MOSIYASH’s supervisor and had supervisory authority over Plaintiff MOSIYASH.

13.   That at all times relevant hereto, Defendant HIGHLIGHT MOTOR and Defendant

      KALINITCHENKO are collectively referred to herein as “Defendants.”

14.   At all times relevant hereto, Defendants had the power to, and were responsible for,

      determining the wages to be paid to Plaintiff MOSIYASH.

15.   At all times relevant hereto, Defendants had the power to, and did in fact, establish the

      terms of Plaintiff MOSIYASH’s employment, including Plaintiff MOSIYASH’s

      schedule, duties, and rate of pay.

16.   The FLSA defines “employer” to include any person acting directly or indirectly in the

      interest of an employer in relation to an employee and an employee is anyone who is

      suffered or permitted to work.       As a result, including as further described below,

      Defendants are liable as “employers” under the FLSA.

17.   Defendants are also jointly and severally liable as joint employers under 29 C.F.R. §791.2

      for the violations complained of herein.

18.   Upon information and belief, Defendants were engaged in interstate commerce within the

      meaning of the FLSA in that Defendants: (a) had and have employees engaged in

      commerce or in the production of goods for commerce, and handles, sells, or otherwise

      works on goods or materials that have been moved in or produced for commerce by any

      person; and (b) had and have an annual gross volume of sales of not less than

      $500,000.00.    Further, during Plaintiff MOSIYASH’s employment with Defendants,

      Plaintiff MOSIYASH routinely engaged in activities which facilitate or relate to interstate

      or foreign commerce.



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                                     MATERIAL FACTS

19.   On or about November 25, 2013, Plaintiff MOSIYASH began working for Defendants as

      a “Forklift Driver-Operator and Truck Driver/Loader,” earning approximately $1,500.00

      per week.

20.   As a “Production Coordinator,” Plaintiff MOSIYASH was responsible for (1) receiving

      and processing incoming truck loads, (2) loading and unloading freight onto trucks, (3)

      filling out various stock orders and packing and shipping orders, (5) drive trucks, and (6)

      assisting warehouse staff and customers.

21.   At all times relevant hereto, Plaintiff MOSIYASH was an exemplary employee, was

      never reprimanded, and always received compliments for his work performance.

22.   At all times relevant hereto, the work performed by Plaintiff MOSIYASH required no

      capital investment.

23.   At all times relevant hereto, Plaintiff MOSIYASH did not have any supervisory or

      managerial responsibilities.

24.   As Plaintiff MOSIYASH was a non-exempt employee, he should have been paid time-

      and-a-half his regular hourly rate for each hour worked over forty (40) each week.

      However, throughout Plaintiff MOSIYASH’s employment with Defendants, although

      Defendants frequently required Plaintiff MOSIYASH to work more than forty (40) hours

      a week, Defendants wholly failed to compensate Plaintiff MOSIYASH at a rate of one

      and one-half times his regular hourly rate of pay for all hours worked in excess of forty

      (40) hours each week, in violation of the FLSA and the NJWPL.

25.   In fact, regardless of the number of hours that Plaintiff MOSIYASH worked each week,

      from on or about November 25, 2013 through on or about July 31, 2015, Defendants



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      always paid Plaintiff MOSIYASH the exact same amount - $1,500.00 per week.

26.   On or about August 1, 2015, Defendants increased Plaintiff MOSIYASH’s weekly salary

      to $2,000.00 per week. Thereafter, from on or about August 1, 2015 through on or about

      October 21, 2017, Defendants always paid Plaintiff MOSIYASH the exact same amount -

      $2,000.00 per week.

27.   By way of example, from on or about July 6, 2015 through on or about July 11, 2015,

      Plaintiff MOSIYASH worked approximately 82 hours for Defendants, which amounts to

      approximately $18.29 per hour ($1500/82hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($18.29) and 42 hours at his overtime

      hourly rate ($27.44) for a total of $1884.14, Defendants only paid Plaintiff MOSIYASH a

      total of $1500.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $384.14

      ($1884.14 – $1500.00) for all hours worked during this week.

28.   From on or about July 13, 2015 through on or about July 18, 2015, Plaintiff MOSIYASH

      worked approximately 75.25 hours for Defendants, which amounts to approximately

      $19.94 per hour ($1500/75.25hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($19.94) and 35.25 hours at his overtime hourly rate

      ($29.90) for a total of $1,851.32, Defendants only paid Plaintiff MOSIYASH a total of

      $1500.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $351.32.

29.   From on or about July 20, 2015 through on or about July 25, 2015, Plaintiff MOSIYASH

      worked approximately 72.75 hours for Defendants, which amounts to approximately

      $20.62 per hour ($1500/72.75hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($20.62) and 32.75 hours at his overtime hourly rate

      ($30.92) for a total of $1,837.62, Defendants only paid Plaintiff MOSIYASH a total of



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      $1500.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $337.62.

30.   From on or about July 27, 2015 through on or about August 1, 2015, Plaintiff

      MOSIYASH worked approximately 71 hours for Defendants, which amounts to

      approximately $21.12 per hour ($1500/71hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($21.12) and 31 hours at his overtime

      hourly rate ($31.70) for a total of $1,827.48, Defendants only paid Plaintiff MOSIYASH

      a total of $1500.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $327.48.

31.   From on or about August 3, 2015 through on or about August 8, 2015, Plaintiff

      MOSIYASH worked approximately 78 hours for Defendants, which amounts to

      approximately $25.64 per hour ($2000/78hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($25.65) and 38 hours at his overtime

      hourly rate ($38.46) for a total of $2,487.14, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $487.14

      ($2487.14 – $2000.00) for all hours worked during this week.

32.   From on or about August 10, 2015 through on or about August 15, 2015, Plaintiff

      MOSIYASH worked approximately 73.5 hours for Defendants, which amounts to

      approximately $27.21 per hour ($2000/73.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.21) and 33.5 hours at his

      overtime hourly rate ($40.82) for a total of $2,455.79, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $455.79.

33.   From on or about August 17, 2015 through on or about August 22, 2015, Plaintiff

      MOSIYASH worked approximately 73.25 hours for Defendants, which amounts to



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      approximately $27.31 per hour ($2000/73.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.31) and 33.25 hours at his

      overtime hourly rate ($40.96) for a total of $2,453.95, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $453.95.

34.   From on or about August 31, 2015 through on or about September 5, 2015, Plaintiff

      MOSIYASH worked approximately 70.5 hours for Defendants, which amounts to

      approximately $28.37 per hour ($2000/70.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.37) and 30.5 hours at his

      overtime hourly rate ($42.56) for a total of $2,432.61, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $432.61.

35.   From on or about September 7, 2015 through on or about September 12, 2015, Plaintiff

      MOSIYASH worked approximately 55 hours for Defendants, which amounts to

      approximately $36.37 per hour ($2000/55hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($36.37) and 15 hours at his overtime

      hourly rate ($54.53) for a total of $2,272.71, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $272.71.

36.   From on or about September 14, 2015 through on or about September 19, 2015, Plaintiff

      MOSIYASH worked approximately 78.5 hours for Defendants, which amounts to

      approximately $25.47 per hour ($2000/78.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($25.47) and 38.5 hours at his

      overtime hourly rate ($38.20) for a total of $2,490.45, Defendants only paid Plaintiff



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      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $490.45.

37.   From on or about September 21, 2015 through on or about September 26, 2015, Plaintiff

      MOSIYASH worked approximately 66.5 hours for Defendants, which amounts to

      approximately $30.08 per hour ($2000/66.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($30.08) and 26.5 hours at his

      overtime hourly rate ($45.11) for a total of $2,398.51, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $398.51.

38.   From on or about September 28, 2015 through on or about October 3, 2015, Plaintiff

      MOSIYASH worked approximately 67 hours for Defendants, which amounts to

      approximately $29.84 per hour ($2000/67hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.84) and 27 hours at his overtime

      hourly rate ($44.76) for a total of $2,402.99, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $402.99.

39.   From on or about October 5, 2015 through on or about October 10, 2015, Plaintiff

      MOSIYASH worked approximately 65.25 hours for Defendants, which amounts to

      approximately $30.64 per hour ($2000/65.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($30.64) and 25.25 hours at his

      overtime hourly rate ($45.96) for a total of $2,386.96, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $386.96.

40.   From on or about October 26, 2015 through on or about October 31, 2015, Plaintiff



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      MOSIYASH worked approximately 69.75 hours for Defendants, which amounts to

      approximately $28.67 per hour ($2000/69.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.67) and 29.75 hours at his

      overtime hourly rate ($43.00) for a total of $2,426.53, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $426.53.

41.   From on or about November 2, 2015 through on or about November 7, 2015, Plaintiff

      MOSIYASH worked approximately 67.25 hours for Defendants, which amounts to

      approximately $29.73 per hour ($2000/67.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.73) and 27.25 hours at his

      overtime hourly rate ($44.60) for a total of $2,405.23, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $405.23.

42.   From on or about November 9, 2015 through on or about November 14, 2015, Plaintiff

      MOSIYASH worked approximately 67.5 hours for Defendants, which amounts to

      approximately $29.63 per hour ($2000/67.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.63) and 27.5 hours at his

      overtime hourly rate ($44.44) for a total of $2,407.39, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $407.39.

43.   From on or about November 16, 2015 through on or about November 21, 2015, Plaintiff

      MOSIYASH worked approximately 69.25 hours for Defendants, which amounts to

      approximately $28.88 per hour ($2000/69.25hrs). However, rather than paying Plaintiff



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      MOSIYASH for 40 hours at his regular hourly rate ($28.88) and 29.25 hours at his

      overtime hourly rate ($43.32) for a total of $2,422.37, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $422.37.

44.   From on or about November 23, 2015 through on or about November 28, 2015, Plaintiff

      MOSIYASH worked approximately 74.25 hours for Defendants, which amounts to

      approximately $26.94 per hour ($2000/74.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($20.20) and 34.25 hours at his

      overtime hourly rate ($40.40) for a total of $2,461.28, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $461.28.

45.   From on or about November 30, 2015 through on or about December 5, 2015, Plaintiff

      MOSIYASH worked approximately 71.5 hours for Defendants, which amounts to

      approximately $27.97 per hour ($2000/71.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.97) and 31.5 hours at his

      overtime hourly rate ($41.96) for a total of $2,440.56, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $440.56.

46.   From on or about December 7, 2015 through on or about December 12, 2015, Plaintiff

      MOSIYASH worked approximately 72.25 hours for Defendants, which amounts to

      approximately $27.68 per hour ($2000/72.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.68) and 32.25 hours at his

      overtime hourly rate ($41.52) for a total of $2,446.35, Defendants only paid Plaintiff



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      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $446.35.

47.   From on or about December 14, 2015 through on or about December 19, 2015, Plaintiff

      MOSIYASH worked approximately 76 hours for Defendants, which amounts to

      approximately $26.32 per hour ($2000/76hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.32) and 36 hours at his overtime

      hourly rate ($39.47) for a total of $2,473.68, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $473.68.

48.   From on or about December 21, 2015 through on or about December 26, 2015, Plaintiff

      MOSIYASH worked approximately 54.25 hours for Defendants, which amounts to

      approximately $36.85 per hour ($2000/54.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($36.85) and 14.25 hours at his

      overtime hourly rate ($55.28) for a total of $2,262.69, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $262.69.

49.   From on or about December 28, 2015 through on or about January 2, 2016, Plaintiff

      MOSIYASH worked approximately 55.75 hours for Defendants, which amounts to

      approximately $35.87 per hour ($2000/55.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($35.87) and 15.75 hours at his

      overtime hourly rate ($53.81) for a total of $2,282.53, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $282.53.

50.   From on or about January 4, 2016 through on or about January 9, 2016, Plaintiff



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      MOSIYASH worked approximately 78.75 hours for Defendants, which amounts to

      approximately $25.40 per hour ($2000/78.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($25.40) and 38.75 hours at his

      overtime hourly rate ($38.10) for a total of $2,492.38, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $492.38.

51.   From on or about January 11, 2016 through on or about January 16, 2016, Plaintiff

      MOSIYASH worked approximately 67.5 hours for Defendants, which amounts to

      approximately $29.63 per hour ($2000/67.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.63) and 27.5 hours at his

      overtime hourly rate ($44.44) for a total of $2,407.39, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $407.39.

52.   From on or about January 17, 2016 through on or about January 23, 2016, Plaintiff

      MOSIYASH worked approximately 78 hours for Defendants, which amounts to

      approximately $25.64 per hour ($2000/78hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($25.65) and 38 hours at his overtime

      hourly rate ($38.46) for a total of $2,487.14, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $487.14.

53.   From on or about January 25, 2016 through on or about January 30, 2016, Plaintiff

      MOSIYASH worked approximately 68.25 hours for Defendants, which amounts to

      approximately $29.31 per hour ($2000/68.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.31) and 28.25 hours at his



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      overtime hourly rate ($43.96) for a total of $2,413.92, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $413.92.

54.   From on or about February 1, 2016 through on or about February 6, 2016, Plaintiff

      MOSIYASH worked approximately 72.5 hours for Defendants, which amounts to

      approximately $27.57 per hour ($2000/72.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.57) and 32.5 hours at his

      overtime hourly rate ($41.36) for a total of $2,448.27, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $448.27.

55.   From on or about February 8, 2016 through on or about February 13, 2016, Plaintiff

      MOSIYASH worked approximately 73.5 hours for Defendants, which amounts to

      approximately $27.20 per hour ($2000/73.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.20) and 33.5 hours at his

      overtime hourly rate ($40.80) for a total of $2,455.79, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $455.79.

56.   From on or about February 15, 2016 through on or about February 20, 2016, Plaintiff

      MOSIYASH worked approximately 69.5 hours for Defendants, which amounts to

      approximately $28.77 per hour ($2000/69.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.77) and 29.5 hours at his

      overtime hourly rate ($43.16) for a total of $2.424.45, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff



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      MOSIYASH $424.45.

57.   From on or about February 22, 2016 through on or about February 27, 2016, Plaintiff

      MOSIYASH worked approximately 66.5 hours for Defendants, which amounts to

      approximately $30.08 per hour ($2000/66.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($30.08) and 26.5 hours at his

      overtime hourly rate ($45.12) for a total of $2,398.51, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $398.51.

58.   From on or about February 29, 2016 through on or about March 5, 2016, Plaintiff

      MOSIYASH worked approximately 68.5 hours for Defendants, which amounts to

      approximately $29.20 per hour ($2000/68.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.20) and 28.5 hours at his

      overtime hourly rate ($43.80) for a total of $2,416.08, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $416.08.

59.   From on or about March 7, 2016 through on or about March 12, 2016, Plaintiff

      MOSIYASH worked approximately 62 hours for Defendants, which amounts to

      approximately $32.27 per hour ($2000/62hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($32.27) and 22 hours at his overtime

      hourly rate ($48.40) for a total of $2,354.83, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $354.83.

60.   From on or about March 14, 2016 through on or about March 19, 2016, Plaintiff

      MOSIYASH worked approximately 71 hours for Defendants, which amounts to



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      approximately $28.16 per hour ($2000/71hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.16) and 31 hours at his overtime

      hourly rate ($42.24) for a total of $2,436.64, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $436.64.

61.   From on or about March 21, 2016 through on or about March 26, 2016, Plaintiff

      MOSIYASH worked approximately 68.75 hours for Defendants, which amounts to

      approximately $29.09 per hour ($2000/68.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($29.09) and 28.75 hours at his

      overtime hourly rate ($43.64) for a total of $2,418.16, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $418.16.

62.   From on or about March 28, 2016 through on or about April 2, 2016, Plaintiff

      MOSIYASH worked approximately 76.75 hours for Defendants, which amounts to

      approximately $26.05 per hour ($2000/76.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.05) and 36.75 hours at his

      overtime hourly rate ($39.08) for a total of $2,478.83, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $478.83.

63.   From on or about April 4, 2016 through on or about April 9, 2016, Plaintiff MOSIYASH

      worked approximately 73.75 hours for Defendants, which amounts to approximately

      $27.12 per hour ($2000/73.75hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($27.12) and 33.75 hours at his overtime hourly rate

      ($40.68) for a total of $2,457.63, Defendants only paid Plaintiff MOSIYASH a total of



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      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $457.63.

64.   From on or about April 11, 2016 through on or about April 16, 2016, Plaintiff

      MOSIYASH worked approximately 72.5 hours for Defendants, which amounts to

      approximately $27.57 per hour ($2000/72.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.57) and 32.5 hours at his

      overtime hourly rate ($41.36) for a total of $2,448.27, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $448.27.

65.   From on or about April 18, 2016 through on or about April 23, 2016, Plaintiff

      MOSIYASH worked approximately 70.5 hours for Defendants, which amounts to

      approximately $28.37 per hour ($2000/70.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.37) and 30.5 hours at his

      overtime hourly rate ($42.56) for a total of $2,432.61, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $432.61.

66.   From on or about April 25, 2016 through on or about April 30, 2016, Plaintiff

      MOSIYASH worked approximately 71.75 hours for Defendants, which amounts to

      approximately $27.87 per hour ($2000/71.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.87) and 31.75 hours at his

      overtime hourly rate ($41.80) for a total of $2,442.51, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $442.51.

67.   From on or about May 2, 2016 through on or about May 7, 2016, Plaintiff MOSIYASH



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      worked approximately 71 hours for Defendants, which amounts to approximately $28.17

      per hour ($2000/71hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

      at his regular hourly rate ($28.17) and 31 hours at his overtime hourly rate ($42.25) for a

      total of $2,436.64, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.

      Accordingly, Defendants underpaid Plaintiff MOSIYASH $436.64.

68.   From on or about May 9, 2016 through on or about May 14, 2016, Plaintiff MOSIYASH

      worked approximately 71.75 hours for Defendants, which amounts to approximately

      $27.87 per hour ($2000/71.75hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($27.87) and 31.75 hours at his overtime hourly rate

      ($41.80) for a total of $2,442.51, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $442.51.

69.   From on or about May 16, 2016 through on or about May 21, 2016, Plaintiff MOSIYASH

      worked approximately 73 hours for Defendants, which amounts to approximately $27.39

      per hour ($2000/73hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

      at his regular hourly rate ($27.39) and 33 hours at his overtime hourly rate ($41.09) for a

      total of $2,452.05, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.

      Accordingly, Defendants underpaid Plaintiff MOSIYASH $452.05.

70.   From on or about May 23, 2016 through on or about May 28, 2016, Plaintiff MOSIYASH

      worked approximately 75.75 hours for Defendants, which amounts to approximately

      $26.40 per hour ($2000/75.75hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($26.40) and 35.75 hours at his overtime hourly rate

      ($39.60) for a total of $2,471.94, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $471.94.



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71.   From on or about May 30, 2016 through on or about June 4, 2016, Plaintiff MOSIYASH

      worked approximately 66 hours for Defendants, which amounts to approximately $30.29

      per hour ($2000/66hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

      at his regular hourly rate ($30.29) and 26 hours at his overtime hourly rate ($45.44) for a

      total of $2,393.95, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.

      Accordingly, Defendants underpaid Plaintiff MOSIYASH $393.95.

72.   From on or about June 6, 2016 through on or about June 11, 2016, Plaintiff MOSIYASH

      worked approximately 73.5 hours for Defendants, which amounts to approximately

      $27.21 per hour ($2000/73.5hrs). However, rather than paying Plaintiff MOSIYASH for

      40 hours at his regular hourly rate ($27.21) and 33.5 hours at his overtime hourly rate

      ($40.82) for a total of $2,455.79, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $455.79.

73.   From on or about June 12, 2016 through on or about June 18, 2016, Plaintiff

      MOSIYASH worked approximately 80.5 hours for Defendants, which amounts to

      approximately $24.85 per hour ($2000/80.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($24.85) and 40.5 hours at his

      overtime hourly rate ($37.28) for a total of $2,503.09, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $503.09.

74.   From on or about June 20, 2016 through on or about June 25, 2016, Plaintiff

      MOSIYASH worked approximately 73.5 hours for Defendants, which amounts to

      approximately $27.21 per hour ($2000/73.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.21) and 33.5 hours at his



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      overtime hourly rate ($40.82) for a total of $2,455.79, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $455.79.

75.   From on or about July 4, 2016 through on or about July 9, 2016, Plaintiff MOSIYASH

      worked approximately 71.25 hours for Defendants, which amounts to approximately

      $28.08 per hour ($2000/71.25hrs). However, rather than paying Plaintiff MOSIYASH

      for 40 hours at his regular hourly rate ($28.08) and 31.25 hours at his overtime hourly rate

      ($42.12) for a total of $2,438.59, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $438.59.

76.   From on or about July 11, 2016 through on or about July 16, 2016, Plaintiff MOSIYASH

      worked approximately 70.5 hours for Defendants, which amounts to approximately

      $28.37 per hour ($2000/70.5hrs). However, rather than paying Plaintiff MOSIYASH for

      40 hours at his regular hourly rate ($28.37) and 30.5 hours at his overtime hourly rate

      ($42.56) for a total of $2,432.61, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $432.61.

77.   From on or about July 18, 2016 through on or about July 23, 2016, Plaintiff MOSIYASH

      worked approximately 72.5 hours for Defendants, which amounts to approximately

      $27.57 per hour ($2000/72.5hrs). However, rather than paying Plaintiff MOSIYASH for

      40 hours at his regular hourly rate ($27.57) and 32.5 hours at his overtime hourly rate

      ($41.36) for a total of $2,448.27, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $448.27.

78.   From on or about July 25, 2016 through on or about July 30, 2016, Plaintiff MOSIYASH

      worked approximately 70.75 hours for Defendants, which amounts to approximately



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      $28.27 per hour ($2000/70.75hrs). However, rather than paying Plaintiff MOSIYASH for

      40 hours at his regular hourly rate ($28.27) and 30.75 hours at his overtime hourly rate

      ($42.40) for a total of $2,434.64, Defendants only paid Plaintiff MOSIYASH a total of

      $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $434.64.

79.   From on or about August 1, 2016 through on or about August 6, 2016, Plaintiff

      MOSIYASH worked approximately 74.25 hours for Defendants, which amounts to

      approximately $26.93 per hour ($2000/74.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.93) and 34.25 hours at his

      overtime hourly rate ($40.40) for a total of $2,461.28, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $461.28.

80.   From on or about August 8, 2016 through on or about August 13, 2016, Plaintiff

      MOSIYASH worked approximately 76.25 hours for Defendants, which amounts to

      approximately $26.24 per hour ($2000/76.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.24) and 36.25 hours at his

      overtime hourly rate ($39.36) for a total of $2,475.41, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $475.41.

81.   From on or about August 15, 2016 through on or about August 20, 2016, Plaintiff

      MOSIYASH worked approximately 78.5 hours for Defendants, which amounts to

      approximately $25.47 per hour ($2000/78.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($25.47) and 38.5 hours at his

      overtime hourly rate ($38.20) for a total of $2,490.45, Defendants only paid Plaintiff



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      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $490.45.

82.   From on or about August 22, 2016 through on or about August 27, 2016, Plaintiff

      MOSIYASH worked approximately 75 hours for Defendants, which amounts to

      approximately $26.67 per hour ($2000/75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.67) and 35 hours at his overtime

      hourly rate ($40.00) for a total of $2,466.67, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $466.67.

83.   From on or about August 29, 2016 through on or about September 3, 2016, Plaintiff

      MOSIYASH worked approximately 74.25 hours for Defendants, which amounts to

      approximately $26.94 per hour ($2000/74.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($20.20) and 34.25 hours at his

      overtime hourly rate ($40.40) for a total of $2,461.28, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $461.28.

84.   From on or about September 5, 2016 through on or about September 10, 2016, Plaintiff

      MOSIYASH worked approximately 55.5 hours for Defendants, which amounts to

      approximately $36.03 per hour ($2000/55.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($36.03) and 15.5 hours at his

      overtime hourly rate ($54.04) for a total of $2,279.28, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $279.28.

85.   From on or about September 12, 2016 through on or about September 17, 2016, Plaintiff



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      MOSIYASH worked approximately 64.5 hours for Defendants, which amounts to

      approximately $31.01 per hour ($2000/64.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($31.01) and 24.5 hours at his

      overtime hourly rate ($46.52) for a total of $2,379.87, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $379.87.

86.   From on or about September 19, 2016 through on or about September 24, 2016, Plaintiff

      MOSIYASH worked approximately 64.25 hours for Defendants, which amounts to

      approximately $31.12 per hour ($2000/64.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($31.12) and 24.25 hours at his

      overtime hourly rate ($46.68) for a total of $2,377.44, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $377.44.

87.   From on or about September 26, 2016 through on or about October 1, 2016, Plaintiff

      MOSIYASH worked approximately 69 hours for Defendants, which amounts to

      approximately $28.99 per hour ($2000/69hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($28.99) and 29 hours at his overtime

      hourly rate ($43.48) for a total of $2,420.29, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $420.29.

88.   From on or about October 3, 2016 through on or about October 8, 2016, Plaintiff

      MOSIYASH worked approximately 61.25 hours for Defendants, which amounts to

      approximately $32.64 per hour ($2000/61.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($32.64) and 21.25 hours at his



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      overtime hourly rate ($48.96) for a total of $2,346.96, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $346.96.

89.   From on or about October 10, 2016 through on or about October 15, 2016, Plaintiff

      MOSIYASH worked approximately 84 hours for Defendants, which amounts to

      approximately $23.81 per hour ($2000/84hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($23.81) and 44 hours at his overtime

      hourly rate ($35.72) for a total of $2,523.81, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $523.81.

90.   From on or about October 17, 2016 through on or about October 22, 2016, Plaintiff

      MOSIYASH worked approximately 84.5 hours for Defendants, which amounts to

      approximately $23.68 per hour ($2000/84.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($23.68) and 44.5 hours at his

      overtime hourly rate ($35.52) for a total of $2,526.64, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $526.64.

91.   From on or about October 24, 2016 through on or about October 29, 2016, Plaintiff

      MOSIYASH worked approximately 76 hours for Defendants, which amounts to

      approximately $26.32 per hour ($2000/76hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($26.32) and 36 hours at his overtime

      hourly rate ($39.47) for a total of $2,473.68, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $473.68.

92.   From on or about October 31, 2016 through on or about November 5, 2016, Plaintiff



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      MOSIYASH worked approximately 71.5 hours for Defendants, which amounts to

      approximately $27.97 per hour ($2000/71.5hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.97) and 31.5 hours at his

      overtime hourly rate ($41.96) for a total of $2,440.56, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $440.56.

93.   From on or about November 21, 2016 through on or about November 26, 2016, Plaintiff

      MOSIYASH worked approximately 64.75 hours for Defendants, which amounts to

      approximately $30.88 per hour ($2000/64.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($30.88) and 24.75 hours at his

      overtime hourly rate ($46.32) for a total of $2,382.24, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $382.24.

94.   From on or about November 28, 2016 through on or about December 3, 2016, Plaintiff

      MOSIYASH worked approximately 88.75 hours for Defendants, which amounts to

      approximately $22.53 per hour ($2000/88.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($22.53) and 48.75 hours at his

      overtime hourly rate ($33.80) for a total of $2,549.31, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $549.31.

95.   From on or about December 4, 2016 through on or about December 10, 2016, Plaintiff

      MOSIYASH worked approximately 77.75 hours for Defendants, which amounts to

      approximately $25.73 per hour ($2000/77.75hrs). However, rather than paying Plaintiff



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      MOSIYASH for 40 hours at his regular hourly rate ($25.73) and 37.75 hours at his

      overtime hourly rate ($38.60) for a total of $2,485.52, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $485.52.

96.   From on or about December 12, 2016 through on or about December 17, 2016, Plaintiff

      MOSIYASH worked approximately 80.75 hours for Defendants, which amounts to

      approximately $24.75 per hour ($2000/80.75hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($24.75) and 40.75 hours at his

      overtime hourly rate ($37.12) for a total of $2,504.64, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

      MOSIYASH $504.64.

97.   From on or about January 16, 2017 through on or about January 21, 2017, Plaintiff

      MOSIYASH worked approximately 64 hours for Defendants, which amounts to

      approximately $31.25 per hour ($2000/64hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($31.25) and 24 hours at his overtime

      hourly rate ($46.88) for a total of $2,375.01, Defendants only paid Plaintiff MOSIYASH

      a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $375.01.

98.   From on or about January 23, 2017 through on or about January 28, 2017, Plaintiff

      MOSIYASH worked approximately 72.25 hours for Defendants, which amounts to

      approximately $27.68 per hour ($2000/72.25hrs). However, rather than paying Plaintiff

      MOSIYASH for 40 hours at his regular hourly rate ($27.68) and 32.25 hours at his

      overtime hourly rate ($41.52) for a total of $2,446.35, Defendants only paid Plaintiff

      MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff



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       MOSIYASH $446.35.

99.    From on or about January 30, 2017 through on or about February 4, 2017, Plaintiff

       MOSIYASH worked approximately 87.5 hours for Defendants, which amounts to

       approximately $22.85 per hour ($2000/87.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($22.85) and 47.5 hours at his

       overtime hourly rate ($34.28) for a total of $2,542.85, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $542.85.

100.   From on or about February 6, 2017 through on or about February 11, 2017, Plaintiff

       MOSIYASH worked approximately 54.75 hours for Defendants, which amounts to

       approximately $36.53 per hour ($2000/54.75hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($36.53) and 14.75 hours at his

       overtime hourly rate ($54.80) for a total of $2,269.41, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $269.41.

101.   From on or about February 13, 2017 through on or about February 18, 2017, Plaintiff

       MOSIYASH worked approximately 71.25 hours for Defendants, which amounts to

       approximately $28.08 per hour ($2000/71.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($28.08) and 31.25 hours at his

       overtime hourly rate ($42.12) for a total of $2,438.59, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $438.59.

102.   From on or about February 20, 2017 through on or about February 25, 2017, Plaintiff



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       MOSIYASH worked approximately 64.5 hours for Defendants, which amounts to

       approximately $31.01 per hour ($2000/64.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($31.01) and 24.5 hours at his

       overtime hourly rate ($46.52) for a total of $2,379.87, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $379.87.

103.   From on or about February 26, 2017 through on or about March 4, 2017 Plaintiff

       MOSIYASH worked approximately 66.5 hours for Defendants, which amounts to

       approximately $30.08 per hour ($2000/66.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($30.08) and 26.5 hours at his

       overtime hourly rate ($45.11) for a total of $2,398.51, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $398.51.

104.   From on or about March 5, 2017 through on or about March 11, 2017 Plaintiff

       MOSIYASH worked approximately 69.5 hours for Defendants, which amounts to

       approximately $28.77 per hour ($2000/69.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($28.77) and 29.5 hours at his

       overtime hourly rate ($43.16) for a total of $2.424.45, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $424.45.

105.   From on or about March 13, 2017 through on or about March 18, 2017 Plaintiff

       MOSIYASH worked approximately 70.25 hours for Defendants, which amounts to

       approximately $28.48 per hour ($2000/70.25hrs). However, rather than paying Plaintiff



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       MOSIYASH for 40 hours at his regular hourly rate ($28.48) and 30.25 hours at his

       overtime hourly rate ($42.72) for a total of $2,430.61, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $430.61.

106.   From on or about March 20, 2017 through on or about March 25, 2017 Plaintiff

       MOSIYASH worked approximately 67.75 hours for Defendants, which amounts to

       approximately $29.52 per hour ($2000/67.75hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($29.52) and 27.75 hours at his

       overtime hourly rate ($44.28) for a total of $2,409.57, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $409.57.

107.   From on or about March 27, 2017 through on or about April 1, 2017 Plaintiff

       MOSIYASH worked approximately 74.25 hours for Defendants, which amounts to

       approximately $26.94 per hour ($2000/74.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($20.20) and 34.25 hours at his

       overtime hourly rate ($40.40) for a total of $2,461.28, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.             Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $461.28.

108.   From on or about April 3, 2017 through on or about April 8, 2017 Plaintiff MOSIYASH

       worked approximately 70 hours for Defendants, which amounts to approximately $28.57

       per hour ($2000/70hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

       at his regular hourly rate ($28.57) and 30 hours at his overtime hourly rate ($42.86) for a

       total of $2,428.56, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.



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       Accordingly, Defendants underpaid Plaintiff MOSIYASH $428.56.

109.   From on or about April 10, 2017 through on or about April 15, 2017 Plaintiff

       MOSIYASH worked approximately 64 hours for Defendants, which amounts to

       approximately $31.25 per hour ($2000/64hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($31.25) and 24 hours at his overtime

       hourly rate ($46.88) for a total of $2,375.01, Defendants only paid Plaintiff MOSIYASH

       a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $375.01.

110.   From on or about April 17, 2017 through on or about April 22, 2017 Plaintiff

       MOSIYASH worked approximately 75.25 hours for Defendants, which amounts to

       approximately $24.40 per hour ($2000/75.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($24.40) and 35.25 hours at his

       overtime hourly rate ($36.60) for a total of $2,468.43, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $468.43.

111.   From on or about April 24, 2017 through on or about April 29, 2017 Plaintiff

       MOSIYASH worked approximately 75.25 hours for Defendants, which amounts to

       approximately $24.40 per hour ($2000/75.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($24.40) and 35.25 hours at his

       overtime hourly rate ($36.60) for a total of $2,468.43, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $468.43.

112.   From on or about May 1, 2017 through on or about May 6, 2017 Plaintiff MOSIYASH

       worked approximately 72.25 hours for Defendants, which amounts to approximately



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       $27.68 per hour ($2000/72.25hrs). However, rather than paying Plaintiff MOSIYASH

       for 40 hours at his regular hourly rate ($27.68) and 32.25 hours at his overtime hourly rate

       ($41.52) for a total of $2,446.35, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $446.35.

113.   From on or about May 8, 2017 through on or about May 13, 2017 Plaintiff MOSIYASH

       worked approximately 68.5 hours for Defendants, which amounts to approximately

       $29.20 per hour ($2000/68.5hrs). However, rather than paying Plaintiff MOSIYASH for

       40 hours at his regular hourly rate ($29.20) and 28.5 hours at his overtime hourly rate

       ($43.80) for a total of $2,416.08, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $416.08.

114.   From on or about May 15, 2017 through on or about May 20, 2017 Plaintiff MOSIYASH

       worked approximately 66.5 hours for Defendants, which amounts to approximately

       $30.08 per hour ($2000/66.5hrs). However, rather than paying Plaintiff MOSIYASH for

       40 hours at his regular hourly rate ($30.08) and 26.5 hours at his overtime hourly rate

       ($45.11) for a total of $2,398.51, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $398.51.

115.   From on or about May 22, 2017 through on or about May 27, 2017 Plaintiff MOSIYASH

       worked approximately 53 hours for Defendants, which amounts to approximately $37.73

       per hour ($2000/53hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

       at his regular hourly rate ($37.73) and 13 hours at his overtime hourly rate ($56.60) for a

       total of $2,245.28, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.

       Accordingly, Defendants underpaid Plaintiff MOSIYASH $245.28.

116.   From on or about June 5, 2017 through on or about June 10, 2017 Plaintiff MOSIYASH



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       worked approximately 69.5 hours for Defendants, which amounts to approximately

       $28.77 per hour ($2000/69.5hrs). However, rather than paying Plaintiff MOSIYASH for

       40 hours at his regular hourly rate ($28.77) and 29.5 hours at his overtime hourly rate

       ($43.16) for a total of $2.424.45, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $424.45.

117.   From on or about June 12, 2017 through on or about June 17, 2017 Plaintiff MOSIYASH

       worked approximately 70.25 hours for Defendants, which amounts to approximately

       $28.48 per hour ($2000/70.25hrs). However, rather than paying Plaintiff MOSIYASH

       for 40 hours at his regular hourly rate ($28.48) and 30.25 hours at his overtime hourly rate

       ($42.72) for a total of $2,430.61, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $430.61.

118.   From on or about June 19, 2017 through on or about June 24, 2017 Plaintiff MOSIYASH

       worked approximately 66 hours for Defendants, which amounts to approximately $30.29

       per hour ($2000/66hrs). However, rather than paying Plaintiff MOSIYASH for 40 hours

       at his regular hourly rate ($30.29) and 26 hours at his overtime hourly rate ($45.44) for a

       total of $2,393.95, Defendants only paid Plaintiff MOSIYASH a total of $2000.00.

       Accordingly, Defendants underpaid Plaintiff MOSIYASH $393.95.

119.   From on or about June 26, 2017 through on or about July 1, 2017 Plaintiff MOSIYASH

       worked approximately 73.25 hours for Defendants, which amounts to approximately

       $27.31 per hour ($2000/73.25hrs). However, rather than paying Plaintiff MOSIYASH

       for 40 hours at his regular hourly rate ($27.31) and 33.25 hours at his overtime hourly rate

       ($40.96) for a total of $2,453.95, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $453.95.



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120.   From on or about July 3, 2017 through on or about July 8, 2017 Plaintiff MOSIYASH

       worked approximately 55.5 hours for Defendants, which amounts to approximately

       $36.03 per hour ($2000/55.5hrs). However, rather than paying Plaintiff MOSIYASH for

       40 hours at his regular hourly rate ($36.03) and 15.5 hours at his overtime hourly rate

       ($54.04) for a total of $2,279.28, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $279.28.

121.   From on or about July 10, 2017 through on or about July 15, 2017 Plaintiff MOSIYASH

       worked approximately 43.75 hours for Defendants, which amounts to approximately

       $45.71 per hour ($2000/43.75hrs). However, rather than paying Plaintiff MOSIYASH

       for 40 hours at his regular hourly rate ($45.71) and 3.75 hours at his overtime hourly rate

       ($68.56) for a total of $2,085.71, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $85.71.

122.   From on or about July 24, 2017 through on or about July 29, 2017 Plaintiff MOSIYASH

       worked approximately 67.25 hours for Defendants, which amounts to approximately

       $29.73 per hour ($2000/67.25hrs). However, rather than paying Plaintiff MOSIYASH

       for 40 hours at his regular hourly rate ($29.73) and 27.25 hours at his overtime hourly rate

       ($44.60) for a total of $2,405.23, Defendants only paid Plaintiff MOSIYASH a total of

       $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $405.23.

123.   From on or about July 31, 2017 through on or about August 5, 2017 Plaintiff

       MOSIYASH worked approximately 65.25 hours for Defendants, which amounts to

       approximately $30.64 per hour ($2000/65.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($30.64) and 25.25 hours at his

       overtime hourly rate ($45.96) for a total of $2,386.96, Defendants only paid Plaintiff



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       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $386.96.

124.   From on or about August 7, 2017 through on or about August 12, 2017 Plaintiff

       MOSIYASH worked approximately 61.75 hours for Defendants, which amounts to

       approximately $32.40 per hour ($2000/61.75hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($32.40) and 21.75 hours at his

       overtime hourly rate ($48.60) for a total of $2,352.24, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $352.24.

125.   From on or about August 14, 2017 through on or about August 19, 2017 Plaintiff

       MOSIYASH worked approximately 67.25 hours for Defendants, which amounts to

       approximately $29.73 per hour ($2000/67.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($29.73) and 27.25 hours at his

       overtime hourly rate ($44.60) for a total of $2,405.23, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $405.23.

126.   From on or about August 21, 2017 through on or about August 26, 2017 Plaintiff

       MOSIYASH worked approximately 64.25 hours for Defendants, which amounts to

       approximately $31.12 per hour ($2000/64.25hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($31.12) and 24.25 hours at his

       overtime hourly rate ($46.68) for a total of $2,377.44, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $377.44.



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127.   From on or about August 28, 2017 through on or about September 2, 2017 Plaintiff

       MOSIYASH worked approximately 62.5 hours for Defendants, which amounts to

       approximately $32.00 per hour ($2000/62.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($32.00) and 22.5 hours at his

       overtime hourly rate ($48.00) for a total of $2,360.00, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $360.00.

128.   From on or about September 4, 2017 through on or about September 9, 2017 Plaintiff

       MOSIYASH worked approximately 51.5 hours for Defendants, which amounts to

       approximately $38.83 per hour ($2000/51.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($38.83) and 11.5 hours at his

       overtime hourly rate ($58.24) for a total of $2,223.30, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $223.30.

129.   From on or about September 11, 2017 through on or about September 16, 2017 Plaintiff

       MOSIYASH worked approximately 61 hours for Defendants, which amounts to

       approximately $32.80 per hour ($2000/61hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($32.80) and 21 hours at his overtime

       hourly rate ($49.20) for a total of $2,344.27, Defendants only paid Plaintiff MOSIYASH

       a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $344.27.

130.   From on or about September 18, 2017 through on or about September 23, 2017 Plaintiff

       MOSIYASH worked approximately 70.75 hours for Defendants, which amounts to

       approximately $28.27 per hour ($2000/70.75hrs). However, rather than paying Plaintiff



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       MOSIYASH for 40 hours at his regular hourly rate ($28.27) and 30.75 hours at his

       overtime hourly rate ($42.40) for a total of $2,434.64, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $434.64.

131.   From on or about September 25, 2017 through on or about September 30, 2017 Plaintiff

       MOSIYASH worked approximately 66.5 hours for Defendants, which amounts to

       approximately $30.08 per hour ($2000/66.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($30.08) and 26.5 hours at his

       overtime hourly rate ($45.11) for a total of $2,398.51, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $398.51.

132.   From on or about October 2, 2017 through on or about October 7, 2017 Plaintiff

       MOSIYASH worked approximately 55 hours for Defendants, which amounts to

       approximately $36.37 per hour ($2000/55hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($36.37) and 15 hours at his overtime

       hourly rate ($54.53) for a total of $2,272.71, Defendants only paid Plaintiff MOSIYASH

       a total of $2000.00. Accordingly, Defendants underpaid Plaintiff MOSIYASH $272.71.

133.   From on or about October 9, 2017 through on or about October 14, 2017 Plaintiff

       MOSIYASH worked approximately 59.5 hours for Defendants, which amounts to

       approximately $33.63 per hour ($2000/59.5hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($33.63) and 19.5 hours at his

       overtime hourly rate ($50.44) for a total of $2,327.73, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.           Accordingly, Defendants underpaid Plaintiff



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       MOSIYASH $327.73.

134.   From on or about October 16, 2017 through on or about October 21, 2017 Plaintiff

       MOSIYASH worked approximately 62.75 hours for Defendants, which amounts to

       approximately $31.87 per hour ($2000/62.75 hrs). However, rather than paying Plaintiff

       MOSIYASH for 40 hours at his regular hourly rate ($31.87) and 22.75 hours at his

       overtime hourly rate ($47.81) for a total of $2,362.56, Defendants only paid Plaintiff

       MOSIYASH a total of $2000.00.              Accordingly, Defendants underpaid Plaintiff

       MOSIYASH $362.56.

135.   On or about October 29, 2017, Plaintiff MOSIYASH resigned from his position as a

       result of Defendants’ failure to pay him any overtime compensation for any of the hours

       worked over 40 in a week.

136.   Thus, Plaintiff MOSIYASH is owed a total of 44,576.81 in unpaid overtime wages for

       work performed for Defendants.

137.   Plaintiff MOSIYASH was damaged by Defendants’ failure to pay him lawfully earned

       overtime wages.

138.   Defendants’ failure to pay Plaintiff MOSIYASH him proper overtime wages required by

       law was willful.

139.   Defendants’ conduct was malicious, willful, outrageous, and conducted with full

       knowledge of the law. As such, Plaintiff MOSIYASH demands Liquidated Damages as

       against all Defendants, jointly and severally.

                         AS A FIRST CAUSE OF ACTION
                 VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                  OVERTIME

140.   Plaintiff repeats and realleges each and every paragraph above as if said paragraph was



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       more fully set forth herein at length.

141.   Defendants willfully employed Plaintiff for workweeks longer than forty (40) hours and

       failed to compensate Plaintiff for his employment in excess of forty (40) hours per week

       at a rate of at least one-and-one-half times the rate at which he was employed.

142.   Defendants failed to pay overtime wages to Plaintiff as required by the FLSA, 29 U.S.C.

       § 201, et seq., and its implementing regulations.

143.   Defendants’ failure to pay Plaintiff overtime pay in accordance with the FLSA is a direct

       violation of the FLSA, specifically 29 U.S.C. § 207.

144.   Defendants’ failure to pay proper overtime wages for each hour worked over forty (40)

       per week was willful within the meaning of 29 U.S.C. § 255.

145.   Defendants’ failure to comply with the FLSA has caused Plaintiff to suffer a loss of

       wages.

146.   As a result of the underpayment of wages alleged in this Complaint, Plaintiff has been

       damaged in at least an amount equal to such underpayment of wages, and Defendants are

       therefore indebted to Plaintiff for back wages and an additional amount as liquidated

       damages equal to one hundred percent of the total amount of the wages found to be due.


                     AS A SECOND CAUSE OF ACTION
          FOR VIOLATION OF THE NEW JERSEY WAGE PAYMENT LAW
                               OVERTIME

147.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this complaint as if same were set forth herein fully at length.

148.   Defendants failed to pay Plaintiff overtime wages at a rate of one and one-half times his

       normal hourly pay rate for hours worked in excess of forty (40) hours per week.

149.   Plaintiff brings this state law claim pursuant to N.J.S.A. 34:11-56a1, et seq.

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150.   As a result of the underpayment of wages alleged in this Complaint, Plaintiff has been

       damaged in at least an amount equal to such underpayment of wages, and Defendants are

       therefore indebted to Plaintiff for back wages an additional amount as liquidated damages

       equal to one hundred percent of the total amount of the wages found to be due.


                                          JURY DEMAND

151.   Plaintiff requests a jury trial on all issues to be tried.



WHEREFORE, Plaintiff respectfully requests a judgment against Defendants:

A. Declaring that Defendants engaged in unlawful employment practices prohibited by the

   FLSA and the NJWPL by failing to pay Plaintiff his overtime wages;

B. Awarding damages to Plaintiff for all unpaid overtime wages due under the FLSA and the

   NJWPL;

C. Awarding Plaintiff liquidated damages as a result of Defendants’ willful failure to pay

   overtime wages;

D. Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

   action; and

E. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

   proper to remedy Defendants’ unlawful employment practices.




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